           Case 1:10-cr-00343-LJO Document 119 Filed 12/08/11 Page 1 of 2




1    BENJAMIN B. WAGNER
     United States Attorney
2    KIRK E. SHERRIFF
     STANLEY A. BOONE
3    Assistant U.S. Attorneys
     2500 Tulare Street, Suite 4401
4    Fresno, California 93721
     Telephone: (559) 497-4000
5    Facsimile: (559) 497-4099
6    Attorneys for the
     United States of America
7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )       1:10-CR-00343 LJO
                                       )
12                   Plaintiff,        )       ORDER FOR FORFEITURE
                                       )       MONEY JUDGMENT
13        v.                           )
                                       )
14   RANDAL ALFRED BURTIS,             )
                                       )
15                   Defendant.        )
                                       )
16
17        Based upon the United States’ Application for Forfeiture Money
18   Judgment and the plea agreement entered into between plaintiff
19   United States of America and defendant Randal Alfred Burtis,
20        IT IS HEREBY ORDERED that:
21        1.   Defendant Randal Alfred Burtis shall forfeit to the United
22   States the sum of $1,500,000, and the Court imposes a personal
23   forfeiture money judgment against defendant in that amount.
24        2.   Any funds applied towards such judgment shall be forfeited
25   to the United States of America and disposed of as provided by law.
26   Prior to the imposition of sentence, any funds delivered to the
27   United States to satisfy the personal money judgment shall be seized
28   and held by the U.S. Department of the Treasury, in its secure

                                           1           Order for Forfeiture Money Judgment
            Case 1:10-cr-00343-LJO Document 119 Filed 12/08/11 Page 2 of 2




1    custody and control.
2          3.       This Order of Forfeiture shall become final as to the
3    defendant at the time of sentencing and shall be made part of the
4    sentence and included in the judgment.
5          4.       The United States may, at any time, move pursuant to Rule
6    32.2(e) to amend this Order of Forfeiture to substitute property
7    having a value not to exceed $1,500,000 to satisfy the money
8    judgment in whole or in part.
9
10
11
12
13                                                                      IT IS SO
     ORDERED.
14
     B9ed48Dated:     December 8, 2011       /s/ Lawrence J. O'Neill
15                                       UNITED STATES DISTRICT JUDGE
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           2            Order for Forfeiture Money Judgment
